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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Kathy Barnette, et al.,
                          Plaintiffs,
       v.                                        No. 20-cv-5477
Kenneth E. Lawrence Jr., Chair of the            Judge Petrese B. Tucker
Montgomery County Board of Elections and
Vice Chair of the Montgomery County Board
of Commissioners, in his official capacity, et
al.,
                          Defendants.



PROPOSED INTERVENOR-DEFENDANT’S BRIEF IN SUPPORT OF MOTION TO
                        INTERVENE
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                                        INTRODUCTION

       For weeks, counties across Pennsylvania have been receiving an unprecedented volume of

mail-in and absentee ballots. This morning, as required by state law, election officials began

canvassing and pre-canvassing those ballots. At the same time, Kathy Barnette and Clay Breece

(“Plaintiffs”) filed this lawsuit challenging Montgomery County’s election procedures. Plaintiffs

ask this Court—after the pre-canvass has already begun—to upend and invalidate lawful

procedures. Plaintiffs’ claims are too late, rife with procedural deficiencies that preclude their

being raised here, and meritless.

       As a national committee dedicated to electing local, state, and national candidates of the

Democratic Party to public office throughout the United States, including in Pennsylvania, the

Democratic Services Corporation/Democratic National Committee (the “DNC”) has a significant

and protectable interest in the outcome of this litigation. Among the DNC’s members and

constituents are eligible voters in Pennsylvania, and in Montgomery County, who have submitted

absentee and mail-in ballots. Some of these voters, including the DNC’s members and constituents,

will be disenfranchised if Plaintiffs achieve the outcome they seek, which in turn, will harm the

DNC’s core mission and undermine its chances for electoral success. Further, the DNC’s interests

are not adequately represented in this litigation because the county official defendants

(“Defendants”), who are representatives of Montgomery County rather than participants in the

election, do not have the same pressing interest in the protection of the franchise.

       Pursuant to Federal Rule of Civil Procedure 24, the DNC seeks intervention as of right or,

in the alternative, permissive intervention, in order to protect its members and constituents from

the substantial likelihood of disenfranchisement that would result from Plaintiffs’ requested relief.

In accordance with Rule 24(c), this Motion is accompanied by a proposed Answer-in-Intervention,

which is attached as Exhibit A.
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                                        BACKGROUND

       Montgomery County’s ballot intake procedure complies with both the Pennsylvania

Election Code and the practices of county election boards across the Commonwealth. The

Pennsylvania Legislature has delegated certain powers and duties related to the conduct of

elections to county boards of elections. County boards are charged with “procur[ing] ballots” for

use in elections. 25 P.S. § 2642(c). County boards of elections are also charged with receiving “the

returns of all primaries and elections,” and “canvass[ing] and comput[ing] the same.” 25 P.S. §

2642(k). County boards must also store mail-in and absentee ballots safely “until they are to be

canvassed.” 25 P.S. § 3146.8(a).

       Handling and reviewing the envelopes of mail-in and absentee ballots does not amount to

pre-canvassing or canvassing those ballots. Pennsylvania defines “pre-canvass” as “the inspection

and opening of all envelopes containing official absentee ballots or mail-in ballots, the removal

of such ballots from the envelopes and the counting, computing and tallying of the votes reflected

on the ballots.” 25 P.S. § 2602(q.1) (emphasis added). The Election Code defines “canvass” as

“the gathering of ballots after the final pre-canvass meeting and the counting, computing and

tallying of the votes reflected on the ballots,” 25 P.S. § 2602(a.1), and even requires county boards

of elections to examine mail ballots as they are received. See 25 P.S. § 3150.16(b)(1) (“The district

register at each polling place shall clearly identify electors who have received and voted mail-in

ballots . . . .”); see also Pa. Dep’t of State, Guidance Concerning Examination of Absentee And

Mail-In       Ballot      Return       Envelopes        (Sept.       11,      2020)       at       2,

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/Examination%20of%

20Absentee%20and%20Mail-In%20Ballot%20Return%20Envelopes.pdf (noting that, during the

process of “approving ballots to be counted during pre-canvassing,” county boards “shall examine



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the Voter’s Declaration on the outer envelope of each returned ballot and compare the information

on the outer envelope, i.e., the voter’s name and address, with the information contained in the

“Registered Absentee and Mail-in Voters File, the absentee voter’s list and/or the Military

Veterans’ and Emergency Civilians Absentee Voters File.’”). It also requires county boards of

elections to segregate certain absentee and mail-in ballots before canvassing begins. See, e.g., 25

P.S. § 3146.8(d) (requiring ballots to be set aside “[w]henever” appropriate evidence indicates the

voter has died prior to the opening of the ballots); § 3146.8(g)(5) (requiring ballots cast by

challenged electors to be placed “in a secure, safe and sealed container”). Clearly, no provision of

the Election Code prevents county boards of elections from handling or reviewing ballot envelopes

before pre-canvassing. See generally 25 P.S. § 3146.

        While Montgomery County’s ballot intake procedure is consistent with the Election Code,

Plaintiffs’ requested relief is not. Plaintiffs ask this court to “declar[e] spoiled” lawfully-cast mail-

in and absentee ballots. But the Election Code contemplates no such treatment of lawfully cast

ballots. See Act of Mar. 27, 2020, P.L. 41, No. 12 (deleting from the election code the explicit

reference to the challenge process for absentee and mail-in ballots). Plaintiffs ask the Court to

allow them to contest ballots under the guise of a baseless constitutional harm, and ask the Court

to set aside and spoil certain ballots that they have identified. See Complaint, Prayer for Relief. As

Intervenors intend to demonstrate, Plaintiffs lack standing and a constitutional injury, to say

nothing of various other considerations that should cause this Court to deny their relief and dismiss

their Complaint.




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                                           ARGUMENT

I.     The DNC is entitled to intervene as of right.

       Intervention as of right must be granted when (1) the motion to intervene is timely, (2) the

proposed intervenors possess an interest in the subject matter of the action; (3) denial of the motion

to intervene would affect or impair the proposed intervenors’ ability to protect their interests, and

(4) the proposed intervenor’s interests are not adequately represented by the existing parties to the

lawsuit. Fed. R. Civ. P. 24(a)(2); Harris v. Pernsley, 820 F.2d 592, 596 (3d Cir. 1987). The DNC

meets each of these factors.

       A.      The Motion is timely.

       In considering whether intervention is timely, this Court considers: (1) “the reason for the

delay”; (2) “the stage of the proceeding”; and (3) “the prejudice that delay may cause the parties.”

Benjamin ex rel. Yock v. Dep't of Pub. Welfare of Pa., 701 F.3d 938, 949 (3d Cir. 2012) (quoting

Mountain Top Condo. Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 369 (3d Cir.

1995)). Each factor demonstrates the Motion’s timeliness.

       First, there was no delay. Plaintiffs filed their Complaint today; this Motion follows the

same day. Second, the DNC sought intervention at the earliest possible stage of this action. No

motions have been fully briefed; no hearings have been held. And third, as a result, no party can

legitimately claim that intervention by the DNC would cause any prejudice, including delay. Under

these circumstances, the Court should find the Motion timely. See, e.g., In re Cmty. Bank of N.

Virginia, 418 F.3d 277, 314 (3d Cir. 2005) (finding intervention timely where, among other things,

substantive hearing had yet been conducted).

       B.      The DNC has a significant protectable interest in the outcome of the litigation.

       The DNC plainly has a “significantly protectable” interest in the orderly administration of

Pennsylvania’s election processes, especially as they relate to procedures affecting the counting of

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mail ballots. This is because Defendants’ proposed relief carries with it the prospect of

disenfranchising the DNC’s members who have submitted such ballots. See Crawford v. Marion

Cty. Election Bd., 553 U.S. 181, 189 n.7 (2008) (agreeing with the unanimous view of the Seventh

Circuit that the Indiana Democratic Party had standing to challenge a voter identification law that

risked disenfranchising its members).

        The DNC has dedicated significant institutional resources to encourage its supporters and

constituents to vote by mail, resources that could have been directed to other states or to

encouraging in-person voting in Pennsylvania had the DNC been aware of the potential for

lawfully cast ballots to be declared spoiled, as Plaintiffs request. See, e.g., Disability Rights Pa. v.

Pennsylvania Dep't of Human Servs., No. 1:19-CV-737, 2020 WL 1491186, at *5 (M.D. Pa. Mar.

27, 2020) (noting an organization has standing where it can show actions “perceptibly impaired”

the organization’s ability to provide its primary services or carry out its mission and have resulted

in a diversion of resources).

        The DNC also has a significantly protectable interest in the election of Democratic

candidates up and down the ballot, and the threatened challenge to the counting of these ballots

risks harming those candidates’ electoral prospects. This is a significantly protectable interest. Cf.

Schiaffo v. Helstoski, 492 F.2d 413, 417 (3d Cir. 1974) (holding defeated candidate had standing

to challenge right of his opponent to send constituent mail postage-free as “anybody who

personally intends to oppose the candidacy of an incumbent congressman or who supports a person

mounting such a challenge has a vital interest in securing the cessation of that incumbent’s

activities . . . that arguably promote his electoral prospects”).




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       C.      Denial of the motion to intervene will impair the DNC’s ability to protect its
               interests.

       There can be no doubt that disposition “of the action may as a practical matter impair or

impede” the DNC’s ability to protect its interests. Fed. R. Civ. P. 24(a)(2). When considering this

factor, courts “look[] to the ‘practical consequences’ of denying intervention.” Nat. Res. Def.

Council v. Costle, 561 F.2d 904, 909 (D.C. Cir. 1977) (quoting Nuesse v. Camp, 385 F.2d 694,

702 (D.C. Cir. 1967)); see also Brody By & Through Sugzdinis v. Spang, 957 F.2d 1108, 1123 (3d

Cir. 1992) (considering consequences of disposition) Intervention is warranted if applicant can

demonstrate “a tangible threat to [its] legal interest.” United States v. Alcan Aluminum, Inc., 25

F.3d 1174, 1185 n. 15 (3d Cir. 1994) (quoting Brody, 957 F.2d at 1123).

       When, as here, a proposed intervenor has a protectable interest in the outcome of the

litigation, courts generally have “little difficulty concluding” that their interests will be impaired.

California ex rel. Lockyer v. United States, 450 F.3d 436, 442 (9th Cir. 2006); see also Brody, 957

F.2d at 1123 (noting that if the intervenor “can show that they possess a legal interest in this action,

then it naturally follows that such an interest would be affected by this litigation”).

       There can be no doubt that disposition of this matter has the potential to impair the DNC’s

ability to protect its interests. Indeed, courts routinely grant intervention to political party

committees in cases where plaintiffs seek to impose restrictions on voting access. See, e.g., Paher

v. Cegavske, No. 20-cv-00243, 2020 WL 2042365, at *4 (D. Nev. April 28, 2020) (granting DNC

intervention in election law case brought by interest group); see Donald J. Trump for President,

Inc., No. 20-cv-10753, 2020 WL 5229209, at *1 (D. N.J. Sept. 01, 2020) (granting Democratic

Congressional Campaign Committee intervention in lawsuit by Republican candidate and party

entities); Issa v. Newsom, No. 20-cv-01044, 2020 WL 3074351, at *3 (E.D. Cal. June 10, 2020)




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(granting Democratic Congressional Campaign Committee and California Democratic Party

intervention). This Court should do the same.

       D.      The DNC’s interests are not adequately represented by Defendants.

       The DNC’s interests diverge significantly from the county election board’s interests in this

case, and thus are not adequately protected. Brody, 957 F.2d at 1123 (quoting Hoots v.

Pennsylvania, 672 F.2d 1133, 1135 (3d Cir. 2982)). In establishing this factor, “[t]his burden is

generally ‘treated as minimal’ and requires the applicant to show ‘that representation of his interest

‘may be’ inadequate.” Commonwealth of Pa. v. President United States of Am., 888 F.3d 52, 60

(3d Cir. 2018) (quoting Mountain Top Condo Ass’n, 72 F.3d at 368).

       To be sure, in cases in which a government entity is a party to the suit, a presumption of

adequacy may arise. See id. But, when, as here, the government entity’s positions “are necessarily

colored by its view of the public welfare rather than the more parochial views of a proposed

intervenor whose interest is personal to it, the burden [of establishing inadequacy of

representation] is comparatively light.” Kleissler v. U.S. Forest Serv., 157 F.3d 964, 972 (3d Cir.

1998); see also id. (“[W]hen the proposed intervenors’ concern is not a matter of ‘sovereign

interest,’ there is no reason to think the government will represent it[.]” (quoting Mausolf v.

Babbitt, 85 F.3d 1295, 1303 (8th Cir. 1996))).

       Defendants’ interest is defined solely by their statutory duties to conduct elections. But the

DNC’s interest is broader. The DNC seeks to ensure that as many of its voters can vote as possible.

Because their interests diverge, the election official Defendants cannot adequately represent the

DNC’s interests. See Issa, 2020 WL 3074351, at *3 (“While Defendants’ arguments turn on their

inherent authority as state executives and their responsibility to properly administer election laws,

the [intervenor is] concerned with ensuring their party members and the voters they represent have



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the opportunity to vote in the upcoming federal election, advancing their overall electoral

prospects, and allocating their limited resources to inform voters about the election procedures.”).

II.     In the alternative, permissive intervention is appropriate.

        If the Court does not grant intervention as a matter of right, the DNC respectfully requests

that the Court exercise its discretion to allow it to intervene under Rule 24(b). The Court has broad

discretion to grant a motion for permissive intervention when it determines that: (1) the proposed-

intervenor’s claim or defense and the main action have a question of law or fact in common, and

that (2) the intervention will not unduly delay or prejudice the adjudication of the original parties’

rights. See Fed. R. Civ. P. 24(b)(1)(B) and (b)(3); Brody, 957 F.2d at 1115-16; League of Women

Voters of Va. v. Virginia State Bd. of Elections, No. 6:20- CV-00024, 2020 WL 2090678, at *5

(W.D. Va. Apr. 30, 2020). Indeed, courts that deny intervention as of right often grant permissive

intervention. See, e.g., McKay v. Heyison, 614 F.2d 899, 906 (3d Cir. 1980).

        The DNC meets the requirements of permissive intervention. First, the DNC will inevitably

raise common questions of law and fact including whether Plaintiffs have standing, whether

Montgomery County’s ballot sorting procedures violate the Equal Protection Clause, and whether

voters will suffer harm from an adverse ruling. Second, and for the reasons set forth above, the

motion to intervene is timely, and, given the early stage of this litigation, intervention will not

unduly delay or prejudice the adjudication of the rights of the original parties. While the DNC has

demonstrated that it is entitled to intervention as of right, permissive intervention is also warranted

here.

                                          CONCLUSION

        For the reasons stated, the DNC is entitled to intervention as of right. In the alternative, it

requests that the Court grant permissive intervention.



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Dated: November 3, 2020            Respectfully submitted,

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                                   Hac Vice Forthcoming




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document, memorandum in support, and

proposed order were electronically filed on November 3, 2020, via the Court’s CM/ECF System,

which will send notification of such filing to counsel of record for Plaintiff.


                                               /s/ Edward Rogers
                                               Counsel for Proposed Intervenor




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